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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



UNITED STATES OF AMERICA,                      )      Case No.: 4:13 CR 190 - 09
                                               )
       Plaintiff                               )
                                               )
       v.                                      )      JUDGE SOLOMON OLIVER, JR.
                                               )
APRIL POLK,                                    )      ORDER ACCEPTING PLEA
                                               )      AGREEMENT, JUDGMENT AND
       Defendant                               )      REFERRAL TO U. S. PROBATION
                                               )      OFFICE




       This case is before the Court on a Report and Recommendation filed by United States

Magistrate Judge William H. Baughman, Jr., regarding the change of plea hearing of April Polk,

which was referred to the Magistrate Judge with the consent of the parties.

       On April 10, 2013, the government filed a forty-nine count Indictment, charging Defendant

April Polk, with Conspiracy to Possess with Intent to Distribute and to Distribute Heroin in violation

of Title 21 United States Code Section 846; and Use of a Telephone to Facilitate Drug Trafficking,

in violation of Title 21 United States Code Section 843(b). Defendant Polk was arraigned on April

17, 2013, and entered a plea of not guilty to Counts1, 40, 46-49 of the Indictment, before Magistrate

Judge Nancy A. Vecchiarelli. On October 31, 2013, Magistrate Judge William H. Baughman, Jr.,

received Defendant Polk’s plea of guilty to Count 1 of the Indictment, and issued a Report and

Recommendation (“R&R”), concerning whether the plea should be accepted and a finding of guilty

entered.
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       Neither party submitted objections to the Magistrate Judge’s R&R in the fourteen days after

it was issued.

       On de novo review of the record, the Magistrate Judge’s R&R is adopted. Defendant Polk

is found to be competent to enter a plea and to understand her constitutional rights. She is aware of

the charges and of the consequences of entering a plea. There is an adequate factual basis for the

plea. The Court finds the plea was entered knowingly, intelligently, and voluntarily. The plea

agreement is approved.

       Therefore, Defendant Polk is adjudged guilty to Count 1 of the Indictment, in violation of

Title 21 United States Code, Section 846, Conspiracy to Possess with Intent to Distribute and to

Distribute Heroin. This matter was referred to the U. S. Probation Department for the completion

of a pre-sentence investigation and report. Sentencing will be on January 30, 2014, at 10:00 a.m.,

in Courtroom 19-A, Carl B. Stokes United States Court House, 801 West Superior Avenue,

Cleveland, Ohio.

       IT IS SO ORDERED.


                                                      /s/SOLOMON OLIVER, JR.
                                                      CHIEF JUDGE
                                                      UNITED STATES DISTRICT COURT
November 21, 2013




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